Case 2:05-cr-80031-JCO-RSW ECF No. 176, PageID.414 Filed 03/27/06 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION


UNITED STATES OF AMERICA,

                       Plaintiff,
                                               CR. NO. 05-80031-02
v.                                             HONORABLE JOHN CORBETT O’MEARA

ANTONIO TAYLOR,

                       Defendant.
                                         /
                                              ORDER

       This matter having come before the Court upon the request of the Defendant and the Court

being fully aware of the refusal of the Milan Detention Center, the institution housing Defendant,

to allow a polygraph examiner or expert a visit without a Court Order;

       IT IS HEREBY ORDERED that Christopher Lanfear, a polygraph examiner, be allowed

to visit and test Defendant Taylor at the Milan Detention Center for purposes of conducting a

polygraph examination of Defendant.

       IT IS THE FURTHER ORDER of the Court that the polygraph examiner be permitted to

bring the necessary items for testing.

       IT IS FURTHER THE ORDER of the Court that Mr. Lanfear be allowed to examine

Defendant in a private, confidential area, and that he be permitted to meet with him for the necessary

time to conduct a competent evaluation.

       SO ORDERED.

                               s/John Corbett O’Meara
                               John Corbett O’Meara
                               United States District Judge
Dated: March 27, 2006
